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JS 44 (Rev. 12/12)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                              DEFENDANTS
UNITED STATES OF AMERICA                                                                                     ATEF SALAMI NEMER HIRCHEDD


    (b) County of Residence of First Listed Plaintiff                                                          County of Residence of First Listed Defendant                BARINHAS, VENEZUELA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                               NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
DANIEL G. BOGDEN, UNITED STATES ATTORNEY, 333 LAS VEGAS                                                      DON P CHAIREZ, 4240 West Flamingo Rd, Suite 220, Las Vegas,
BLVD SOUTH, SUITE 5000, LAS VEGAS, NV 89101, TEL:                                                            Nevada 89103, Tel: 702-509-4242, Fax: 702: 926-9700
702-388-6336

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                            and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF           DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1           ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                             of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2        ’    2   Incorporated and Principal Place     ’ 5      ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                                 of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3        ’    3   Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                    FORFEITURE/PENALTY                           BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                 PERSONAL INJURY             ’ 625 Drug Related Seizure             ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                  ’ 365 Personal Injury -             of Property 21 USC 881           ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product                Product Liability       ’ 690 Other                                  28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability                ’ 367 Health Care/                                                                                      ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                        Personal Injury                                                ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’              Product Liability                                              ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability                ’ 368 Asbestos Personal                                              ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                          Injury Product                                                                                    ’   480 Consumer Credit
        (Excludes Veterans)          ’   345 Marine Product                  Liability                             LABOR                        SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY            ’   710 Fair Labor Standards           ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle             ’ 370 Other Fraud                      Act                           ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle             ’ 371 Truth in Lending        ’   720 Labor/Management               ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability         ’ 380 Other Personal                   Relations                     ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                  Property Damage         ’   740 Railway Labor Act              ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                    ’ 385 Property Damage         ’   751 Family and Medical                                                ’   895 Freedom of Information
                                     ’   362 Personal Injury -               Product Liability                Leave Act                                                                Act
                                             Medical Malpractice                                     ’   790 Other Labor Litigation                                            ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’   791 Employee Retirement              FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                       Income Security Act            ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                         or Defendant)                       Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                               ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                               26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 530 General
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from               ’ 6 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District                   Litigation
                                                                                                                                (specify)
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                          28 USC 1651, PETITION FOR WRIT OF ERROR CORAM NOBIS TO SET ASIDE CONVICTION
VI. CAUSE OF ACTION Brief description of cause:
                                          DEFENDANT'S ATTORNEY GAVE INCORRECT ADVICE ABOUT THE IMMIGRATION CONSEQUENCES
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION     DEMAND $                                                                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE KENT DAWSON                                                                                    DOCKET NUMBER CR-S-99-0309-KJD-LRL
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
11/20/2015                                                              "S/DON P. CHAIREZ"
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                              MAG. JUDGE

                 Print                               Save As...                                                                                                                      Reset
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

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required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the six boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407.
         When this box is checked, do not check (5) above.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
